Case 2:06-cv-00535-ROS Document 17-6 Filed 03/06/06 Page 1 of 4

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When scientist Stephen Hawking was confronted with proof that his theory was wrong,
he sided with truth over self-interest. When the facts went against the assertions of
environmentalist Paul Ehrlich, leftist guni Noam Chomsky, and sex researcher Alfred

Kinsey, they simply ignored the facts. TownHall.com features my article comparing a
real scholar with numerous pseudo-scholars.

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CBS'S FORGED BUSH DOCUMENTS: | September 17, 2004

Dan Rather is giving Dans a bad name. I'm fighting back to redeem the pride of Dans
everywhere. Read my take on the Rathergate affair on TownHall.com.

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COMPLETE ULTIMATE WARRIOR INTERVIEW:| June 28, 2004

Part 1, Part 2, Part 3, and Part.4 of my ultimate interview of the Ultimate Warnor is
now online. Read Warrior's behind-the-scenes take on Hulk Hogan, Sting, Vince
McMahon, and other wrestling heavyweights. Plus, Warrior talks polities, gives one of
the best definitions of conservatism I've read ("preserving those things that have
worked throughout time"), and dishes out weight-training advice:

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AMERICANS HONOR RONALD REAGAN: | June 10, 2004

Lady Margaret Thatcher, Vice President Richard Cheney, and over Soo dignitaries paid
tribute to President Reagan ata state funeral inside the Capitol. Outside, a twenty-one
gun salute, formations of jets screeching above, and companies of marching soldiers,
sailors, airmen, and Marines honored the 40th U.S. President. Perhaps Reagan's
greatest adulation came from the everyday Americans lining the route of his funeral
procession, Read my article at FrontPageMag.

PERMALINK | COMMENTS (0)

LEFTISTS CELEBRATE REAGAN'S DEATH:| June 7, 2004

The nation mourns President Reagan's death. The hardcore Left cheers. On the day of
Ronald Reagan's passing, activists at an International ANSWER rally outside the White
House celebrated the death of America's goth President. Read the article at National
Review Online,

PERMALINK | COMMENTS (5)
MILLION MOM MARCH:

May 10, 2004

My take on the Million Mom March appears on National Review Online today. Click
here to read the article,

PERMALINK | COMMENTS (2) | TaackBack (0)

DEAN'S SUPPORTERS HIS BIGGEST LIABILITY: | January 23, 2004

Howard Dean had the organization, the passion, the volunteers, key endorsements,
saturation media coverage and even the money. Yet he still lost Monday's lowa

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Page 5 ots

06/24/2005

Case 2:06-cv-00535-ROS Document 17-6 Filed 03/06/06 Page 2 of 4

Flynn Files Page bors

caucuses. Why? Full article published at Newsmax.com.

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Areview of The Death of Right end Wrong: Exposing the Left's Assault on Our Culture
and Values by Tammy Bruce. Originally published in the American Enterprise online.

PEAMALINE | COMMENTS (1) | TRACKBACK (0)

MASTER OF DECEIT: | June 3, 2003

Who is the most influential historian among young people? Filmmaker Ken Burns?
Could it be the Democrats’ court historian, Arthur Schlesinger, Jr.? Biographer David
McCullough? How about the late Stephen Ambrose, whose tiumphant view of
American history has brought alive such colorful characters as Meriwether Lewis, Crazy
Horse, and George Custer? Full article published at FrontPageMag.

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LOONY LEFT DOOMS THE DEMOCRATS:| November 12, 2002

The 2002 Republican sweep was historic. For the first time since the presidency of
Franklin Roosevelt, a first-term president's party increased its numbers in Congress
during an off-year election.

Why did the Democrats fare so poorly? Full article published on Newsmax.com.

PERMALINK | COMMENTS (3) | TRACKBACK (0)

TOP i090 REASONS THAT THINKING AMERICANS LOVE THEIR
COUNTRY: | October 28, 2002

Despite the intellectual pretensions of those who practice it, anti-Americanism is
reflexive and mindless. Patriotism, despite its bad reputation amongst the
intelligentsia, is. a rational sentiment for an American to hold. This is the thesis 1 prove
in my new book, Why the Left Hates America, Full article published in Front Page Mag.

PERMALINK | COMMENTS (4) | TRACKBACK (0)

ARE WAR PROTESTERS REALLY 'MAINSTREAM’?:| February 18,
2002

Roughly 190,000 people crammed 20 city blocks in New York City this Saturday.
Bearing signs proclaiming "Bush Is a Terrorist," "Oil Is Murder," and "Change Regimes
in the U.S.," demonstrators blocks away from the base of the rally strained to listen to
the amplified remarks of Susan Sarandon, Danny Glover, Harry Belafonte,.and other
familiar activist luminaries.

While this demonstration and hundreds of others garnered page-one coverage across
the globe, the attitudes and beliefs of the actual protestors received scant attention. Full
article published at Newsmax.com,

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http://www. flynnfiles.com/articles.php 06/24/2005
Case 2:06-cv-00535-ROS Document17-6 Filed 03/06/06 P

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BERZERK AT BERKELEY:| March 2, 2001

DAVID HOROWITZ'S INSTINCTS were right in attempting to take out an ad in the
Daily Californian. If you're a conservative, paying for your nght to speak is just about
the only way for your ideas to reach a large audience on a campus as inhospitable to
free thought as the University of California-Berkeley. Conservative views, after all, are
scarcely to be found amongst the faculty, officially invited guest lecturers, or on the op-
ed page of the Daily Cal. When conservatives do speak out at Berkeley, they are shouted
down and threatened, Full article published on Front Page Mag.

PERMALINK | COMMENTS (4) | TRACKBack (0)

TWELVE CASES OF CAMPUS CENSORSHIP: | February 14, 2001

WHAT HAPPENED to David Horowitz at Berkeley was an aberration. No, the
censoring of his ideas was not out of the ordinary, As evidenced by last semester's
student-mob action to prevent Benjamin Netanyahu from speaking in the city of
Berkeley and the shouting down of a talk given by this writer and the subsequent book-
burning of a booklet that | had authored, censorship is quite common at Berkeley. Full
article published at Front Page Mag.

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WHAT YOUR TEXTBOOKS WON'T TELL YOU ABOUT THE COLD

WAR: | November 10, 2000

One of the more controversial, and powerful, figures of the presidency of Franklin
Roosevelt was Harry Hopkins, FDR Biographer Robert Sherwood noted that even
partisans of the President “disliked Hopkins intensely and resented the extraordinary
position of influence and authority which he held...According to Herb Romerstein and
Eric Breindel, authors of The Venona Secrets: Exposing Sowiet Espionage and
America’s Trattors...Hopkins, arguably the man with the greatest sway over our q2nd
President, was an agent of the Soviet Union, Full article published in Accuracy in
Academia’s Campus Report.

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DISGRACE AT ANTIOCH:| May 4, 2000

On Saturday, April 29, more than 500 people converged upon the sleepy town of Yellow
Springs, Ohio. Their purpose was to protest Antioch College, which was honoring
convicted cop-killer Mumia Abu-Jamal at its commencement. Full article published on
National Review Online,

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IDEAS HAVE CONSEQUENCES... LIKE MURDER, TYRANNY, AND

REPRESSION:| March 10, 2000

When searching for examples of state-sponsored barbarities, intellectuals are quick to
point to the Spanish Inquisition or its Protestant imitation, the Witchhunt. How could
anyone, modern academics wonder, persecute another for their beliefs? These same
intellectuals, ironically, are often the very people who served as cheerleaders. for
political persecution and mass murder on a scale unmatched in human history. Full
article originally published in Accuracy in Academia's Campus Report.

http://www.flynnfiles.com/articles.php

age 3 of

4

Page / ot &

06/24/2005
Case 2:06-cv-00535-ROS Document 17-6 Filed 03/06/06 Page 4 of 4

Flynn Files

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DEBUNKING AN ANTI-CATHOLIC CALUMNY:| November 5, 1999

Intellectuals are often hesitant to previde a truthful presentation of society, people, or
events becuase doing so often undermines their preconceived ideological notions about
how the world works. Because of this, elites often shy away from presenting their ideas
in a non-fiction format. Instead, they opt for the stage, the silver screen, television, or
novels. The Leftist worldview that fails miserably in practice works remarkably well on
Broadway and in Hollywood. Full article originally published in Campus Watch.

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Page sore

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06/24/2005
